                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 TEMPUR-PEDIC NORTH AMERICA,
 LLC; TEMPUR-PEDIC MANAGEMENT,
 LLC; and DAN-FOAM ApS,

 Plaintiffs,

 vs.                                                 CASE NO. 8:18-cv-02147-VMC-SPF
 MATTRESS FIRM, INC.; THER-A-PEDIC
 ASSOCIATES, INC.; SINOMAX GROUP
 LIMITED, and SINOMAX USA, INC.,

 Defendants.
                                                 /

               PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

        Plaintiffs, Tempur-Pedic North America, LLC, Tempur-Pedic Management, LLC,

and Dan-Foam ApS (collectively “Plaintiffs”), move for a Preliminary Injunction pursuant to

Federal Rule of Civil Procedure 65(a) and Local Rule 4.06 against Defendants, Mattress

Firm, Inc., Ther-A-Pedic Associates, Inc., Sinomax USA, Inc., and Sinomax Group Limited

(collectively “Defendants”). This motion is supported by (1) the Declaration of Richard W.

Anderson, and accompanying exhibits, declared on August 27, 2018; (2) the Supplemental

Declaration of Richard W. Anderson, and accompanying exhibit, declared on August 28,

2018, (3) the Memorandum of Law in Support of Plaintiffs’ Motions for a Temporary

Restraining Order and Preliminary Injunction; and (4) the Complaint (collectively

“Supporting Documentation”).

        Plaintiffs have filed an eight count Complaint against Defendants alleging violations

of the Lanham Act, 15 U.S.C. § 1501, et. seq., and other claims, for infringing Plaintiffs’
valuable Tempur-Pedic trademarks, trade dress and other elements of its brand in conjunction

with Defendants manufacture, distribution, use and sale of the competing Therapedic brand

mattresses. As more fully set forth in the Complaint and supporting declarations of Richard

W. Anderson, Plaintiffs are suffering and will continue to suffer irreparable harm to its

valuable brand if Defendants’ willful infringement is permitted to continue. After seeing

Plaintiffs’ state-of-the-art Pro-Adapt series mattresses at the world’s largest industry

tradeshow in January 2018, Mattress Firm, a former authorized seller of Tempur-Pedic

products, teamed up with its Co-Defendants, to manufacture, import, distribute and sell

mattresses that look exactly like Plaintiffs’ Pro-Adapt mattresses. To further the confusion,

Defendants also use the Therapedic trademark in a manner, previously never used, nearly

identical to the Tempur-Pedic trademarks.

       Mattress Firm also designed marketing materials that have the same “look and feel”

and overall commercial impression as the Tempur-Pedic marketing materials. For example,

Mattress Firm is setting up its stores to use a “gallery” format to showcase the infringing

goods—a style that Mattress Firm used exclusively for Tempur-Pedic goods when it was an

authorized retailer. It is also prominently displaying a version of the Therapedic trademark

that is nearly identical in appearance to the Tempur-Pedic trademark, and using color

schemes that further enhance the false notion that the authentic goods and the infringing

products are one and the same.

       The appearance of the Therapedic products and how they are displayed are virtually

indistinguishable from the Tempur-Pedic products and how they are displayed.             The

trademarks and the trade dress are nearly, and confusingly, identical. Given the fame of




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Tempur-Pedic, the history between the parties, and the egregious copying, Defendants are

willfully infringing the Tempur-Pedic trademarks and trade dress, and the whole of the

Tempur-Pedic brand.

       Because Mattress Firm was an authorized retailer of Tempur-Pedic products for

nearly twenty years—the self-described number one Tempur-Pedic bedding retailer in the

country, no less—and because it continued in that role until just last year, consumers

inevitably will be confused. Indeed, even a Mattress Firm salesperson in Gainesville was

struck by the similarity of the Therapedic mattresses to Tempur-Pedic products. If a trained

salesperson believes that they look similar, no doubt consumers will too. Consumers will

believe that Mattress Firm is still an authorized seller of Tempur-Pedic products when it is

not.   They will enter Mattress Firm stores thinking Mattress Firm sells Tempur-Pedic

products when it does not. And they will spend thousands of dollars at Mattress Firm to

purchase products carrying the Therapedic name thinking they are Tempur-Pedic products

when they are not. Consequently, Tempur-Pedic is being severely and irreparably harmed by

the confusion Defendants are causing, as well as loss of sales, goodwill and control over its

reputation. Accordingly, Plaintiffs respectfully ask this Court to enjoin Defendants’ conduct.

       The evidence in this matter establishes: (1) a substantial likelihood that Plaintiffs will

succeed on the merits; (2) a substantial threat of irreparable injury if the injunction is not

granted; (3) that the threatened injury to the Plaintiffs outweigh any harm that an injunction

may cause the Defendants; and (4) that granting the injunction would not disserve the public

interest. To the contrary, given the likelihood of consumer confusion, the public interest is

disserved by not granting the injunction.




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       For these reasons, and the arguments, authorities and facts set forth in the Supporting

Documentation, Plaintiffs respectfully move this Court to enter a preliminary injunction

enjoining Defendants and their employees, agents, partners, officers, directors, shareholders,

related companies, affiliates, distributors, dealers and all persons in active concert or

participation with any of them from:

       (1)     making any use whatsoever of the Tempur-Pedic Brand (as that term is

defined in the Supporting Documentation) or any other trade names, trademarks, or trade

dress that are likely to cause confusion with the Tempur-Pedic Brand, including, but not

limited to, the manners complained of and depicted photographically in the Supporting

Documentation or variations thereof, in connection with the sale, offering for sale,

distribution, promotion, or advertisement of mattresses or other bedding products; and

       (2)     representing by any means whatsoever, directly or indirectly, that Defendants,

any goods or services offered by Defendants, or any activities undertaken by Defendants, are

associated, authorized by, or connected in any way with Plaintiffs.

       WHEREFORE, Plaintiffs Tempur-Pedic North America, LLC, Tempur-Pedic

Management, LLC, and Dan-Foam ApS respectfully request that this Court enter a

preliminary injunction enjoining Defendants Mattress Firm, Inc., Ther-A-Pedic Associates,

Inc., Sinomax USA, Inc., and Sinomax Group Limited, and their employees, agents, partners,

officers, directors, shareholders, related companies, affiliates, distributors, dealers and all

persons in active concert or participation with any of them from:

       (1)     making any use whatsoever of the Tempur-Pedic Brand (as that term is

defined in the Supporting Documentation) or any other trade names, trademarks, or trade




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limited to, the manners complained of and depicted photographically in the Supporting

Documentation or variations thereof, in connection with the sale, offering for sale,

distribution, promotion, or advertisement of mattresses or other bedding products; and

       (2)     representing by any means whatsoever, directly or indirectly, that Defendants,

any goods or services offered by Defendants, or any activities undertaken by Defendants, are

associated, authorized by, or connected in any way with Plaintiffs.

       Plaintiffs further request that this Court grant any additional relief deemed

appropriate under the circumstances.


Dated: August 28, 2018                       Respectfully submitted,

                                             s/ Suzanne Barto Hill
                                             SUZANNE BARTO HILL, ESQUIRE
                                             Florida Bar No. 0846694
                                             E-mail: shill@rumberger.com (primary)
                                                      docketingorlando@rumberger.com and
                                                      shillsecy@rumberger.com (secondary)
                                             RUMBERGER, KIRK & CALDWELL
                                             A Professional Association
                                             Lincoln Plaza, Suite 1400
                                             300 South Orange Avenue (32801)
                                             Post Office Box 1873
                                             Orlando, Florida 32802-1873
                                             Telephone: (407) 872-7300
                                             Telecopier: (407) 841-2133

                                             SARA S. WHITEHEAD, ESQUIRE
                                             Florida Bar No. 0099218
                                             E-mail: swhitehead@rumberger.com
                                                   swhiteheadsecy@rumberger.com;
                                                   docketingtpa@rumberger.com (secondary)
                                             RUMBERGER, KIRK & CALDWELL, P.A.
                                             A Professional Association
                                             100 North Tampa Street, Suite 2000


                                              5
             Post Office Box 3390
             Tampa, Florida 33601-3390
             Telephone: (813) 223-4253
             Telecopier: (813) 221-4752

             EDWARD F. MALUF, ESQUIRE
             (pro hac vice admission pending)
             JEREMY A. SCHACHTER, ESQUIRE
             (pro hac vice admission pending)
             Email: jschachter@seyfarth.com
             Email: emaluf@seyfarth.com
             SEYFARTH SHAW LLP
             620 Eighth Avenue
             New York, New York 10018
             Telephone: (212) 218-5500
             Attorneys for Plaintiffs




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